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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

WESTERN RESERVE MUTUAL CASUALTY )                    Case No.:
COMPANY,                          )
                                  )                  Judge:
          Plaintiff,              )
                                  )                  Magistrate Judge:
     v.                           )
                                  )                  Defendants’ Notice of Removal of Action
REVERSE MORTGAGE SOLUTIONS, INC., )
WILLIAM COLLINS, and GREENFIELD   )
BANKING COMPANY,                  )
                                  )
          Defendants.             )
                                  )


       PLEASE TAKE NOTICE THAT Defendants REVERSE MORTGAGE SOLUTIONS,

INC. (“RMS”), WILLIAM COLLINS, and GREENFIELD BANKING COMPANY (“GBC”)

(collectively, “Defendants”), without waiving any defenses, including specifically defenses and

objections to venue, personal jurisdiction and service, pursuant to 28 U.S.C. §§ 1332, 1441, and

1446, hereby remove Plaintiff’s Complaint in the above-styled action from the Court of Common

Pleas in Wayne County, Ohio to this Court on the following grounds:

       1.      On or about March 1, 2017, Plaintiff WESTERN RESERVE MUTUAL

CASUALTY COMPANY (“Plaintiff”) commenced the above-styled action against Defendants in

the Court of Common Pleas in Wayne County, Ohio, Case No. 2017 CVC-H 000097 (“State Court

Action”). Defendants were served with a copy of the Summons and Complaint on or about March

6, 2017. A copy of the complete file obtained from the Court of Common Pleas in Wayne County,

Ohio, which reflects the foregoing, is attached to this Notice as composite Exhibit A.




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        2.      This Court has federal diversity jurisdiction over this action as set forth in 28 U.S.C.

§ 1332. Federal diversity jurisdiction requires that the amount in controversy equal or exceed

$75,000 and that the parties be citizens of different states. 28 U.S.C. § 1332.

        3.      All Defendants, by and through their respective counsel, consent to the removal of

this action. Copies of Defendant Collins’ and Defendant Greenfield Banking Company’s notices

of consent to removal are attached to this Notice as Exhibit B and Exhibit C, respectively.

                                 DIVERSITY OF CITIZENSHIP

        4.      Plaintiff avers that it is an Ohio corporation duly registered and validly existing

under the laws of the State of Ohio and having its principal offices located within Wayne County,

Ohio. (See Ex. A, Complaint (“Compl.”) ¶ 1.) Accordingly, for jurisdictional purposes, Plaintiff

is a citizen of Ohio. 28 U.S.C. § 1332(c)(1).

        5.      Defendant RMS is a Delaware corporation having its principal place of business in

Texas. Accordingly, RMS is a citizen of Delaware and Texas.

        6.      Defendant William Collins is an individual citizen of Indiana.

        7.      Defendant GBC is an Indiana corporation having its principal place of business in

Indiana. Accordingly, GBC is a citizen of Indiana.

        8.      Therefore, because Plaintiff is a citizen of Ohio, and Defendants are citizens of

Delaware, Texas, and Indiana, complete diversity exists between the parties for purposes of federal

diversity jurisdiction.

                                 AMOUNT IN CONTROVERSY

        9.      Plaintiff’s claims arise out of a check it issued in the amount of $76,888.11.

(Compl. ¶ 13.) According to the complaint, the check was made payable to both Defendant Collins

and Defendant RMS. (Id. at ¶¶ 13, 15.) However, according to the complaint, Defendant GBC



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accepted the check and paid Defendant Collins despite the fact that the check was not endorsed by

Defendant RMS. (Id. ¶ 16.) Plaintiff asserts a claim against Defendant Collins for unjust

enrichment, seeking restitution of the full $76,888.11 (Count III). (Id. ¶ 45.) Plaintiff also asserts

claims against both Defendant GBC and Defendant Collins for indemnity, or in the alternative,

contribution, for any portion of the $76,888.11 due and owing to Defendant RMS (Counts II, IV).

(Id. ¶¶ 39-40, 52-53.) Finally, Plaintiff asserts a claim for declaratory judgment against all parties,

seeking an order declaring the Parties’ respective rights, duties and obligations in relation to the

$76,888.11 check (Count I). (Id. ¶¶ 21-30.)

       10.     The amount in controversy in this case therefore exceeds the jurisdictional

requirement. 28 U.S.C. § 1332; see also, e.g., Hunt v. Washington State Apple Advert. Comm’n,

432 U.S. 333, 347 (1977) (“In actions seeking declaratory . . . relief, it is well established that the

amount in controversy is measured by the value of the object of the litigation.”). Accordingly, this

Court has diversity jurisdiction over Plaintiff’s claims in this case, and this action is properly

removed to this Court. 28 U.S.C. § 1446(a).

       11.     In accordance with 28 U.S.C. § 1446(d), the undersigned certifies that he

simultaneously has filed a copy of the foregoing Notice of Removal with the Clerk of the Court of

Common Pleas in Wayne County, Ohio.

       Respectfully submitted, this 31st day of March, 2017.

                                                /s/ Michael J. Zbiegien, Jr.
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                              Counsel for Defendant Reverse Mortgage Solutions,
                              Inc.




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                               CERTIFICATE OF SERVICE

       This certifies that I have this day electronically filed the foregoing DEFENDANTS’

NOTICE OF REMOVAL OF ACTION with the Court, with notice of same being served on all

attorneys of record by U.S. Mail and e-mail:

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                                                   Counsel for Defendant William Collins




Dated: March 31, 2017.

                                                      /s/ Michael J. Zbiegien, Jr.
                                                     Michael J. Zbiegien, Jr.




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